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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             January 2023 Grand Jury

11   UNITED STATES OF AMERICA,               CR No. 2:24-cr-00058-FMO

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(B)(vi): Possession with
14   GILBERTO ARNULFO SANTIS,                Intent to Distribute Fentanyl;
                                             21 U.S.C. §§ 841(a)(1), (b)(1)(C):
15                                           Distribution of Fentanyl;
               Defendant.                    21 U.S.C. §§ 841(a)(1), (b)(1)(C):
16                                           Possession with Intent to
                                             Distribute a Controlled Substance;
17                                           21 U.S.C. § 853 and 28 U.S.C.
                                             § 2461(c): Criminal Forfeiture]
18

19        The Grand Jury charges:
20                                     COUNT ONE
21                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]
22        On or about October 14, 2020, in Los Angeles County, within the
23   Central District of California, defendant GILBERTO ARNULFO SANTIS
24   knowingly and intentionally distributed N-phenyl-N-[1-(2-
25   phenylethyl)-4-piperidinyl] propanamide (“fentanyl”), a Schedule II
26   narcotic drug controlled substance.
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 1                                     COUNT TWO

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about November 4, 2020, in Los Angeles County, within the

 4   Central District of California, defendant GILBERTO ARNULFO SANTIS

 5   knowingly and intentionally possessed with the intent to distribute

 6   4-Anilino-N-phenethylpiperidine (“ANPP”), a Schedule II narcotic drug

 7   controlled substance.

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 1                                    COUNT THREE

 2                   [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(vi)]

 3        On or about November 4, 2020, in Los Angeles County, within the

 4   Central District of California, defendant GILBERTO ARNULFO SANTIS

 5   knowingly and intentionally possessed with intent to distribute at

 6   least 40 grams, that is, approximately 68 grams, of a mixture and

 7   substance containing a detectable amount of N-phenyl-N-[1-(2-

 8   phenylethyl)-4-piperidinyl] propanamide (“fentanyl”), a Schedule II

 9   narcotic drug controlled substance.

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 1                              FORFEITURE ALLEGATION

 2                    [21 U.S.C. § 853; 28 U.S.C. § 2461(c)]

 3         1.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 21,

 6   United States Code, Section 853, and Title 28, United States Code,

 7   Section 2461(c), in the event of the defendant’s conviction on any of

 8   the offenses set forth in Counts One through Three of this

 9   Indictment.

10         2.   The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)   All right, title and interest in any and all property,

13   real or personal, constituting or derived from, any proceeds which

14   the defendant obtained, directly or indirectly, from such offense;

15              (b)   All right, title and interest in any and all property,

16   real or personal, used, or intended to be used, in any manner or

17   part, to commit, or to facilitate the commission of such offense;

18   and

19              (c)   To the extent such property is not available for

20   forfeiture, a sum of money equal to the total value of the property

21   described in subparagraphs (a) and (b).

22         3.   Pursuant to Title 21, United States Code, Section 853(p),

23   and as incorporated by Title 28, United States Code, Section 2461(c),

24   the defendant, if so convicted, shall forfeit substitute property if,

25   by any act or omission of the defendant, the property described in

26   the preceding paragraph, or any portion thereof: (a) cannot be

27   located upon the exercise of due diligence; (b) has been transferred,

28   sold to, or deposited with a third party; (c) has been placed beyond
                                            4
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 1   the jurisdiction of the court; (d) has been substantially diminished

 2   in value; or (e) has been commingled with other property that cannot

 3   be divided without difficulty.

 4

 5                                              A TRUE BILL
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 7                                                      V
                                                Foreperson
 8

 9   E. MARTIN ESTRADA
     United States Attorney
10
     MACK E. JENKINS
11   Assistant United States Attorney
     Chief, Criminal Division
12

13

14   SCOTT M. GARRINGER
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19   Assistant United States Attorney
     Cyber & Intellectual Property
20   Crimes Section
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